                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 1 of 32



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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   CITY AND COUNTY OF SAN
                                                                              FRANCISCO,                                                   No. C 19-02405 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,                                            Related to
                                                                         12
                               For the Northern District of California




                                                                                v.                                                         No. C 19-02769 WHA
                                                                         13                                                                          and
                                                                              ALEX M. AZAR II, Secretary of U.S.                           No. C 19-02916 WHA
                                                                         14   Department of Health and Human Services;
                                                                              ROGER SERVERINO, Director, Office for
                                                                         15   Civil Rights, Department of Health and
                                                                              Human Services; U.S. DEPARTMENT OF                           ORDER RE MOTIONS TO
                                                                         16   HEALTH AND HUMAN SERVICES; and                               DISMISS AND FOR SUMMARY
                                                                              DOES 1–25,                                                   JUDGMENT AND REQUESTS
                                                                         17                                                                FOR JUDICIAL NOTICE
                                                                                             Defendants.
                                                                         18                                              /

                                                                         19                                           INTRODUCTION
                                                                         20          In these challenges to a final agency rule allowing those with religious, moral, or other
                                                                         21   conscientious objections to refuse to provide abortions and certain other medical services,
                                                                         22   federal defendants move to dismiss or, in the alternative, for summary judgment. Plaintiffs
                                                                         23   oppose and also move for their own summary judgment. For the following reasons, defendants’
                                                                         24   motion to dismiss is DENIED. To the extent stated below, plaintiffs’ motion for summary
                                                                         25   judgment is GRANTED.
                                                                         26                                             STATEMENT
                                                                         27          Following Roe v. Wade, 410 U.S. 113 (1973), at least one religiously affiliated hospital
                                                                         28   became forced by a court to allow its facilities to be used for abortion procedures. See, e.g.,
                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 2 of 32



                                                                          1   Taylor v. St. Vincent’s Hospital, 369 F. Supp. 948 (D. Mont. 1973). That provoked the first
                                                                          2   federal statute to ensure that federally-financed hospitals as well as doctors, among others, could
                                                                          3   refuse to perform such procedures on grounds of conscientious objection. Over the years, the
                                                                          4   right to refuse on such grounds has received yet more attention in further contexts via federal
                                                                          5   statutes. Defendant United States Department of Health and Human Services (HHS) has
                                                                          6   recently promulgated a rule that, plaintiffs say, expands these protections beyond what Congress
                                                                          7   intended and will hamstring the delivery of health care. Plaintiffs fear losing important federal
                                                                          8   grants as a result of their inability to comply with the new rule.
                                                                          9          Under the new rule, to preview just one example, an ambulance driver would be free,
                                                                         10   on religious or moral grounds, to eject a patient en route to a hospital upon learning that the
                                                                         11   patient needed an emergency abortion. Such harsh treatment would be blessed by the new rule.
United States District Court




                                                                         12   One important question presented herein is the extent to which such scenarios conflict with the
                               For the Northern District of California




                                                                         13   underlying statutes themselves. Although this order does not accept all of plaintiffs’ criticisms,
                                                                         14   this order holds that the new rule conflicts with those statutes in a number of ways and upsets
                                                                         15   the balance drawn by Congress between protecting conscientious objections versus protecting
                                                                         16   the uninterrupted effective flow of health care to Americans.
                                                                         17          1.      HISTORY OF CONSCIENCE STATUTES.
                                                                         18          Starting in 1973, Congress enacted laws providing certain protections to doctors and
                                                                         19   others who objected to performing abortions and certain other procedures. Relevant for our
                                                                         20   purposes are the following: (1) the Church Amendment; (2) the Coats-Snowe Amendment;
                                                                         21   (3) Medicaid and Medicare Advantage law; (4) the Weldon Amendment; and (5) the Patient and
                                                                         22   Affordable Care Act. Since the new rule purports to interpret these statutes, let’s review them.
                                                                         23                  A.      Church Amendment (1973).
                                                                         24          Senator Frank Church of Idaho will be remembered by many for his opposition to the
                                                                         25   Vietnam War, his hearings exposing abuse by CIA surveillance of American citizens, and his
                                                                         26   championing of wilderness and environmental causes. For our immediate purposes, however,
                                                                         27   we remember him for the Church Amendment.
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                                                                          1           Following Roe v. Wade, as stated, a Montana district court issued a temporary injunction
                                                                          2   requiring a Catholic hospital to allow its facilities to be used for sterilization, specifically, a tubal
                                                                          3   ligation procedure. Taylor, 369 F. Supp. at 948. Senator Church stated the purpose of his
                                                                          4   amendment was, among other things, to clarify the intent of Congress as to “physicians, nurses,
                                                                          5   or institutions” who don’t perform “abortions or sterilization in religious affiliated hospitals
                                                                          6   where such operations are contrary to religious belief.” 119 Cong. Rec. 9595–97.
                                                                          7           The Church Amendment provided that the receipt of federal funds by any individual
                                                                          8   or entity did not authorize any court or public official to require such individual to perform
                                                                          9   or assist in the performance of any sterilization procedure or abortion contrary to his religion
                                                                         10   or conscience, nor to require such entity to make its facilities available for sterilization or
                                                                         11   abortion if such procedure was prohibited by the entity on the basis of religious or moral
United States District Court




                                                                         12   convictions. Entities receiving federal funds were barred from discriminating “in the
                               For the Northern District of California




                                                                         13   employment, promotion, or termination of employment” of physicians or health care personnel
                                                                         14   as well as from discriminating “in the extension of staff or other privileges” to physicians
                                                                         15   or “health care personnel” based upon their conscientious refusal to perform or assist in the
                                                                         16   performance of those procedures. The amendment also provided that “[n]o individual shall be
                                                                         17   required to perform or assist in the performance of any part of a health service program or
                                                                         18   research activity funded in whole or in part under a program administered by the Secretary
                                                                         19   of Health and Human Services if his performance or assistance in the performance of such part
                                                                         20   of such program or activity would be contrary to his religious beliefs or moral convictions.”
                                                                         21   42 U.S.C. § 300a-7. The statute gave no delegation of authority to any agency to issue
                                                                         22   legislative rules (or even interpretive rules, for that matter).
                                                                         23                   B.      Coats-Snowe Amendment (1996).
                                                                         24           Twenty-three years passed. No agency rule issued or was even proposed. In 1996,
                                                                         25   however, a new concern surfaced, namely that medical students felt coerced into learning how
                                                                         26   to perform abortions. Still, no agency acted — but Congress did act. A 1996 amendment
                                                                         27   drew sponsorship from Senators Olympia Snowe and Dan Coats. Until her recent retirement,
                                                                         28   Senator Snowe of Maine received notice for her finding bi-partisan ways forward through


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                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 4 of 32



                                                                          1   contentious issues. Senator Dan Coats became known for sponsoring the “Don’t Ask, Don’t
                                                                          2   Tell” policy of the early 1990s. He later served as Director of National Intelligence from
                                                                          3   March 2017 to August 2019.
                                                                          4          The Coats-Snowe Amendment prohibited, among other things, government entities
                                                                          5   receiving federal financial assistance from discriminating against any “health care entity” that
                                                                          6   “refuses to undergo training in the performance of induced abortions, to require or provide such
                                                                          7   training, to perform such abortions, or to provide referrals for such training or such abortions”
                                                                          8   or refusing to make arrangements for those activities. The amendment specifically defined the
                                                                          9   term “health care entity” to include “an individual physician, a postgraduate physician training
                                                                         10   program, and a participant in a program of training in the health professions.” 42 U.S.C. § 238n.
                                                                         11          The Amendment also required government entities receiving federal financial instance to
United States District Court




                                                                         12   accredit health care entities “that would be accredited but for the accrediting agency’s reliance
                               For the Northern District of California




                                                                         13   upon an accreditation standards that requires an entity to perform an induced abortion or require,
                                                                         14   provide, or refer for training in the performance of induced abortions, or make arrangements for
                                                                         15   such training.” The Amendment provided express rulemaking authority as to that provision
                                                                         16   only. Id. at § 238n(b)(1).
                                                                         17                  C.      Medicaid and Medicare Advantage (1997).
                                                                         18          The following year, in 1997, Congress passed the Balanced Budget Act, which changed
                                                                         19   key components of Medicaid and introduced Medicare Advantage. Of importance, the statute
                                                                         20   stated that Medicaid-managed organizations and Medicare Advantage plans were not
                                                                         21   required to “provide, reimburse for, or provide coverage of a counseling or referral service”
                                                                         22   if the organization objected to the service on moral or religious grounds. 42 U.S.C.
                                                                         23   §§ 1395w-22(j)(3)(B), 1396u-2(b)(3)(B). The Social Security Act provided express rulemaking
                                                                         24   authority to HHS to implement the Medicaid and Medicare Advantage provisions. Id. at
                                                                         25   §§ 1302(a); 1395w-26(b)(1).
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                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 5 of 32



                                                                          1                  D.      Weldon Amendment (2004).
                                                                          2          In 2004 came the Weldon Amendment. Representative Dave Weldon, a doctor,
                                                                          3   made headlines for legislation regarding home ownership affordability, vaccine safety, and
                                                                          4   the prevention of human cloning.
                                                                          5          The Weldon Amendment provided that no federal funds “may be made available to
                                                                          6   a Federal agency or program, or to a State or local government, if such agency, program, or
                                                                          7   government subjects any institutional or individual health care entity to discrimination on the
                                                                          8   basis that the health care entity does not provide, pay for, provide coverage of, or refer for
                                                                          9   abortions.” Importantly, it expressly defined the term “health care entity” for purposes of the
                                                                         10   Amendment to include “an individual physician or other health care professional, a hospital,
                                                                         11   a provider-sponsored organization, a health maintenance organization, a health insurance
United States District Court




                                                                         12   plan, or any other kind of health care facility, organization, or plan.” See, e.g., Appropriations
                               For the Northern District of California




                                                                         13   Act, Pub. L. No. 115-245, Div. B., § 507(d), 132 Stat. 2981, 3118 (2018) (emphasis added).
                                                                         14   This definition differed from the definition of the same phrase as used in the Coats-Snowe
                                                                         15   Amendment. The Weldon Amendment was meant to protect “health care entities” from being
                                                                         16   forced by the government to provide, cover, refer, or pay for abortions. HMOs and health
                                                                         17   insurance plans could not, under the amendment, be discriminated against with respect to federal
                                                                         18   funds on account of their refusal to cover abortions.
                                                                         19                  E.      Patient Protection and Affordable Care Act (2010).
                                                                         20          Finally, in 2010 came the Patient Protection and Affordable Care Act with several
                                                                         21   new conscience provisions. One such notable provision stated the federal government or any
                                                                         22   governmental agency that received federal financial assistance under the act “may not subject
                                                                         23   an individual or institutional health care entity to discrimination on the basis that the entity
                                                                         24   does not provide any health care item or service furnished for the purpose of causing, or for
                                                                         25   the purpose of assisting in causing, the death of any individual, such as by assisted suicide,
                                                                         26   euthanasia, or mercy killing.” 42 U.S.C. § 18113. For that section only, the Act defined
                                                                         27   “health care entity” in the same way as the Weldon Amendment, to include, “an individual
                                                                         28   physician or other health care professional, a hospital, a provider-sponsored organization,


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                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 6 of 32



                                                                          1   a health maintenance organization, a health insurance plan, or any other kind of health care
                                                                          2   facility, organization, or plan.” Ibid.
                                                                          3          Another provision said that a State could prohibit abortion coverage in qualified health
                                                                          4   care plans, and that a qualified health care plan could not discriminate against a health
                                                                          5   care provider or entity that was unwilling to provide, pay for, provide coverage of, or refer for
                                                                          6   abortions. Id. § 18023. A further provision allowed individuals to seek exemption based on,
                                                                          7   among other things, their religion. Id. § 18081(b)(5)(A). The Act also provided HHS with
                                                                          8   express rulemaking authority to implement the Act. Id. § 18041(a)(1).
                                                                          9          2.      THE HISTORY OF AGENCY RULES REGARDING THESE STATUTES.
                                                                         10          None of the foregoing statutes other than the Coats-Snowe Amendment, the
                                                                         11   Medicare/Medicaid laws, and the Affordable Care Act expressly delegated rulemaking authority
United States District Court




                                                                         12   to any agency. Even in those cases, the delegation remained limited. From 1973 until 2008, no
                               For the Northern District of California




                                                                         13   agency issued any rule of any type concerning any health care conscience statute.
                                                                         14                  A.      2008 and 2011 Rules.
                                                                         15           In August 2008, however, HHS first proposed an interpretive rule for the enforcement
                                                                         16   of the conscience statutes then in place. The comments in response to the proposed rule
                                                                         17   expressed many of the same concerns as plaintiffs express in this instant action, stating, for
                                                                         18   example, that the definitions of the terms “assist in the performance of” and “health care entity”
                                                                         19   were too broad. Critics also worried that the proposal conflicted with Medicaid, Title X (which
                                                                         20   required family planning projects to offer certain family planning services), and the Emergency
                                                                         21   Medical Training and Active Labor Act (EMTALA) (which required certain hospitals to
                                                                         22   stabilize or transfer patients in emergency situations). 42 U.S.C. §§ 300; 1395dd.
                                                                         23          The 2008 rule defined many of the same statutory terms as does the 2019 rule at issue,
                                                                         24   such as “assist in the performance” and “health care entity,” to take only two examples. See
                                                                         25   Ensuring That HHS Funds Do Not Support Coercive or Discriminatory Policies or Practices
                                                                         26   in Violation of Federal Law, 73 Fed. Reg. at 78,082, 78,097 (Dec. 19, 2008). It ultimately
                                                                         27   prohibited HHS fund recipients from discriminating against health care entities that did not
                                                                         28   “provide, pay for, provide coverage of, or refer for abortions,” and further required HHS fund


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                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 7 of 32



                                                                          1   recipients to certify compliance with the rule. For those that did not comply with the rule, HHS
                                                                          2   stated it “intend[ed] to work with recipients . . . to ensure compliance with the requirements or
                                                                          3   prohibitions promulgated in this regulation, and, if such assistance fails to achieve compliance,
                                                                          4   the Department will consider all legal options, including termination of funding.” The rule
                                                                          5   designated the Office of Civil Rights (OCR) to receive complaints of discrimination and
                                                                          6   coercion based on the health care conscience protection statutes. Id. at 78,074–79, 93.
                                                                          7          Three months after the rule took effect, however, and with a different administration in
                                                                          8   office, HHS proposed to rescind the rule in order to review the regulation and “ensure its
                                                                          9   consistency with current Administration policy and to reevaluate the necessity for regulation.”
                                                                         10   74 Fed. Reg. 10,207 (Mar. 10, 2009). HHS received over 300,000 comments in response.
                                                                         11   Many of these comments expressed concern the 2008 rule “unacceptably impacted patient rights
United States District Court




                                                                         12   and restricted access to health care and conflicted with federal law, state law, and other
                               For the Northern District of California




                                                                         13   guidelines addressing informed consent.” Regulation for the Enforcement of Federal Health
                                                                         14   Care Provider Conscience Protection Laws, 76 Fed. Reg. 9968, 9971 (Feb. 23, 2011). In 2011,
                                                                         15   HHS rescinded in part and revised in part the 2008 rule. Of importance, the 2011 rule rescinded
                                                                         16   the definitions “because of concerns that they may have caused confusion regarding the scope of
                                                                         17   the federal health care provider conscience protection statutes” and stated “individual
                                                                         18   investigations will provide the best means of answering questions about the application of the
                                                                         19   statutes in particular circumstances.” The rule also stated “the certification requirements in the
                                                                         20   2008 Final Rule are unnecessary to ensure compliance with the federal health care provider
                                                                         21   conscience protection statutes, and that the certification requirements created unnecessary
                                                                         22   additional financial and administrative burdens on health care entities.” The rule further
                                                                         23   designated the OCR to receive complaints of discrimination and coercion based on the
                                                                         24   conscience protection statutes and to coordinate the handling of complaints with the HHS
                                                                         25   funding components. Id. at 9974.
                                                                         26                  B.      The Instant Rule.
                                                                         27          In May 2017, President Donald Trump issued an executive order instructing the Attorney
                                                                         28   General to “issue guidance interpreting religious liberty protections in Federal law.” Promoting


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                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 8 of 32



                                                                          1   Free Speech and Religious Liberty, 82 Fed. Reg. 21,675 (May 4, 2017). In October 2017,
                                                                          2   Attorney General Jeff Sessions issued a memorandum to “guide all administrative agencies
                                                                          3   and executive departments” in doing so. Federal Law Protections for Religious Liberty Attorney
                                                                          4   General Memorandum (Oct. 6, 2017). In January 2018, HHS proposed to resurrect most of the
                                                                          5   2008 rule, stating that the 2011 rescission had “created confusion over what is and is not
                                                                          6   required under Federal conscience and anti-discrimination laws.” Protecting Statutory
                                                                          7   Conscience Rights in Health Care, 83 Fed. Reg. 3880 (Jan. 26, 2018). HHS received over
                                                                          8   242,000 comments in response. Many comments expressed the same concerns as plaintiffs here,
                                                                          9   including among other things, that the rule would lead to a decrease in access to health care;
                                                                         10   that the proposed definitions for terms such as “health care entity,” “referral or refer for,” and
                                                                         11   “assist in the performance of” were too broad; and that the rule conflicted with laws such as
United States District Court




                                                                         12   EMTALA and Title X (see, e.g., AR 006-58592, 008-187087, 008-187916, 008-191263).
                               For the Northern District of California




                                                                         13          In May 2019, HHS issued its final rule — the rule in suit. Protecting Statutory
                                                                         14   Conscience Rights in Health Care, 84 Fed. Reg. 23,170 (May 21, 2019). It defines various
                                                                         15   nouns, verbs, and phrases in the conscience statutes in an expansive way, as explained below,
                                                                         16   so as to inflate the scope of protections for conscientious objectors. The rule also provides
                                                                         17   compliance and certification provisions that require covered entities to certify their compliance
                                                                         18   with federal conscience statutes, anti-discrimination laws, and the rule itself. Covered entities
                                                                         19   that fail to abide by these requirements risk losing the entirety of their federal funding, not just
                                                                         20   categories of funding such as grants, loans, and insurance.
                                                                         21          Plaintiff City and County of San Francisco filed the instant action, alleging the rule
                                                                         22   violated the Administrative Procedure Act (APA) and the Constitution. City and County of
                                                                         23   San Francisco v. Alex M. Azar II, et al., C 19-02405 WHA. A few weeks later, plaintiff State of
                                                                         24   California filed an action making most of the same claims as San Francisco with an additional
                                                                         25   FOIA claim. State of California v. Alex M. Azar II, et al., C 19-02769 WHA. A week later,
                                                                         26   plaintiffs County of Santa Clara and various health and LGBTQ organizations also filed an
                                                                         27   action challenging the rule, making the same claims. County of Santa Clara, et al., v. U.S. Dept.
                                                                         28   of Health and Human Services, et al., C 19-02916 WHA. An order granted the parties’


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                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 9 of 32



                                                                          1   stipulated request to postpone the effective date of the rule until November 22, 2019, thus
                                                                          2   obviating the need to consider any provisional relief. Defendants now move to dismiss under
                                                                          3   FRCP 12(b)(1) and 12(b)(6) or, in the alternative, for summary judgment. Plaintiffs also move
                                                                          4   for summary judgment (Dkt. Nos. 14, 66, 89, 136). The Court appreciates the briefing and
                                                                          5   argument by both sides and the notable contributions made by amici.
                                                                          6                                                 ANALYSIS
                                                                          7          1.      RULE 12(B)(1) MOTION TO DISMISS.
                                                                          8          Defendants raise two jurisdictional arguments under FRCP 12(b)(1). First, they argue
                                                                          9   plaintiffs’ spending clause and establishment clause claims are not ripe for review because
                                                                         10   they have not identified any specific enforcement actions against them. Second, they argue the
                                                                         11   physician plaintiffs in Santa Clara lack standing to bring free speech, equal protection, and due
United States District Court




                                                                         12   process claims on behalf of their patients.
                               For the Northern District of California




                                                                         13                  A.      Plaintiffs’ Spending Clause and Establishment
                                                                                                     Clause Claims Are Ripe for Review.
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                                                                                     Determining whether an action is ripe for judicial review requires an evaluation of:
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                                                                              (1) whether delayed review would cause hardship to the plaintiffs; (2) whether judicial
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                                                                              intervention would inappropriately interfere with further administrative action; and (3) whether
                                                                         17
                                                                              the courts would benefit from further factual development of the issues presented. Ohio Forestry
                                                                         18
                                                                              Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 733 (1998). Hardship can occur when the impact of the
                                                                         19
                                                                              regulation can be felt immediately by those subject to it in conducting their day-to-day affairs.
                                                                         20
                                                                              Toilet Goods Ass’n, Inc. v. Gardner, 387 U.S. 158, 164 (1967). Specifically, “where a regulation
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                                                                              requires an immediate and significant change in the plaintiffs’ conduct of their affairs with
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                                                                              serious penalties attached to noncompliance,” the claims are ripe for review. Abbott Labs. v.
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                                                                              Gardner, 387 U.S. 136, 153 (1967), overruled on other grounds by Califano v. Sanders,
                                                                         24
                                                                              430 U.S. 99, 105 (1977).
                                                                         25
                                                                                     Defendants argue plaintiffs’ establishment clause and spending clause claims are not ripe
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                                                                              because the claims rest on contingent future events. In particular, they contend that plaintiffs
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                                                                              have only provided speculative scenarios in which the two claims can be evaluated. Not so.
                                                                         28
                                                                              Regardless of how the rule is interpreted, plaintiffs would need to conduct extensive inquiries

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 10 of 32



                                                                          1   into hospitals and personnel to determine their compliance with not only the underlying statutes,
                                                                          2   but the rule itself. Plaintiffs have further provided examples of numerous hospital policies which
                                                                          3   contain provisions regarding discrimination that may need to be overhauled under the final rule.
                                                                          4   For example, Zuckerberg San Francisco General Hospital policies state (State of California, Dkt.
                                                                          5   No. 69 ¶ 8):
                                                                          6                  In the event a staff member feels reluctant to participate in an
                                                                                             aspect of patient care because the patient’s condition, treatment
                                                                          7                  plan, or physician’s orders are in conflict with the staff member’s
                                                                                             religious beliefs, cultural values, or ethics, the staff member’s
                                                                          8                  written request for accommodation will be considered if the
                                                                                             request does not negatively affect the quality of patient’s care.
                                                                          9
                                                                                     Such policies would need to be rewritten and alternative business practices or procedures
                                                                         10
                                                                              created to comply with the rule while also ensuring patients receive adequate care. Furthermore,
                                                                         11
United States District Court




                                                                              if plaintiffs alternatively choose not to comply with the rule, they would need to prepare for the
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                               For the Northern District of California




                                                                              contingency of the termination of all federal funding. Although defendants have stated that the
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                                                                              extent of enforcement in regard to funding is now unknown given the postponement of the rule,
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                                                                              this does not change the fact that the whole point of the rule is to “clarify” the statutes in a way
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                                                                              that will impose changes to comply. Accordingly, defendants’ motion to dismiss plaintiffs’
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                                                                              spending clause and establishment clause claims is DENIED.
                                                                         17
                                                                                             B.      The Santa Clara Physician Plaintiffs Have Standing.
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                                                                                     Defendants challenge the standing of the Santa Clara physician plaintiffs in raising free
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                                                                              speech, equal protection, and due process claims on behalf of their LGBTQ and abortion-seeking
                                                                         20
                                                                              patients. Although plaintiffs generally must assert their own legal rights and interests, a third
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                                                                              party may have standing depending on the relationship of the litigant to the person whose right
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                                                                              he or she seeks to assert and the ability of the third party to assert his or her own rights.
                                                                         23
                                                                              Singleton v. Wulff, 428 U.S. 106, 114–16 (1976).
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                                                                                     Defendants attempt to distinguish Singleton from the instant case by stating its holding
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                                                                              only applies to physicians who perform nonmedically indicated abortions and are asserting
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                                                                              rights on behalf of pregnant women. Not so. Singleton’s holding is broader, as the Supreme
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                                                                              Court found that the physicians had third party standing given the confidential nature of the
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                                                                              relationship between physicians and women seeking the abortion as well as the obstacles women

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 11 of 32



                                                                          1   have in asserting their right to an abortion. In particular, women generally cannot safely secure
                                                                          2   abortions without the aid of physicians and “the constitutionally protected abortion decision is
                                                                          3   one in which the physician is intimately involved.” Singleton, 428 U.S. at 115–17.
                                                                          4          In the instant case, physicians are similarly asserting claims on behalf of women seeking
                                                                          5   abortions and LGBTQ patients. Doctors and their patients have a confidential relationship,
                                                                          6   especially when it comes to asserting rights related to invasive procedures and treatments.
                                                                          7   Furthermore, most of the medical procedures at issue here such as abortions, gender-affirming
                                                                          8   surgery, and HIV treatments cannot be safely secured without the aid of a physician. The rights
                                                                          9   of the individual physician plaintiffs and their patients here are thus closely intertwined.
                                                                         10   Because the physician plaintiffs in Santa Clara have standing, defendants’ motion to dismiss
                                                                         11   the Santa Clara physician plaintiffs’ free speech, equal protection, and due process claims is
United States District Court




                                                                         12   DENIED.
                               For the Northern District of California




                                                                         13          2.      RULES 12(B)(6) AND 56 — THE APA CLAIM.
                                                                         14          On the merits, this order holds that the new rule sets forth new definitions of statutory
                                                                         15   terms that conflict with the statutes themselves — expansive definitions that would upset the
                                                                         16   balance drawn by Congress between protecting conscientious objectors versus facilitating the
                                                                         17   uninterrupted provision of health care to Americans.
                                                                         18          With the minor exceptions noted below, the new rule is purely an interpretive rule,
                                                                         19   not a legislative rule. An agency, of course, must interpret a statute under its care. But an
                                                                         20   interpretation, even if cast in the form of a regulation, is nothing more than that —
                                                                         21   an interpretation. The statute itself is what has the force of law, not the interpretation.
                                                                         22   No interpretation can add or subtract from the actual scope of the statute itself. If the agency
                                                                         23   misconstrues a statute, then the statute controls, not the interpretation.
                                                                         24          The guiding principle, therefore, is that no interpretation, not even an agency
                                                                         25   interpretation, can add or subtract from what the statute itself specifies. In a close case of
                                                                         26   statutory construction, we might defer to the agency’s interpretation. But otherwise, we must
                                                                         27   remain faithful to the statutes enacted by Congress. And while a legislative rule may add to a
                                                                         28   statute, it cannot subtract from a statute. Fidelity to the statute is paramount.


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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 12 of 32



                                                                          1          In reading the statutes in question, the Court sees that Congress tried to strike a balance
                                                                          2   between two competing considerations. One consideration was recognition that, due to religious
                                                                          3   or ethical beliefs, some doctors, nurses, and hospitals, among others, wanted no part in the
                                                                          4   performing of abortions and sterilizations, among other medical procedures, and Congress
                                                                          5   wanted to protect them from discrimination for their refusal to perform them. The countervailing
                                                                          6   consideration was recognition of the need to preserve the effective delivery of health care to
                                                                          7   Americans, including to those seeking, for example, abortions and sterilizations. Every doctor
                                                                          8   or nurse, for example, who bowed out of a procedure for religious or ethical reasons became one
                                                                          9   more doctor or nurse whose shifts had to be covered by someone else, a burden on the healthcare
                                                                         10   system. Congress struck a balance between these two opposing considerations.
                                                                         11          In reading the rule in question, the Court sees a persistent and pronounced redefinition
United States District Court




                                                                         12   of statutory terms that significantly expands the scope of protected conscientious objections.
                               For the Northern District of California




                                                                         13   As laudable as that sounds, however, it would come at a cost — a burden on the effective
                                                                         14   delivery of health care to Americans in derogation of the actual balance struck by Congress.
                                                                         15                  A.      Definitions.
                                                                         16          The new rule includes five columns (in the Federal Register) of new definitions of
                                                                         17   statutory terms. These definitions, as will be seen, make the mischief. Then follow many
                                                                         18   columns of restatements of the statutes in question, which restatements remain largely true to the
                                                                         19   words used by Congress (but whose scope becomes expanded by the definitions). Finally come
                                                                         20   concluding columns imposing “assurance” and “compliance” certificate obligations on
                                                                         21   applicants for federal funds. This order will now turn to the definitions, the heart of the problem.
                                                                         22                          (1)    “Assist in the Performance of.”
                                                                         23          The reader will recall that the Church Amendment protected not only those individuals
                                                                         24   who “perform” abortions and sterilizations but also those individuals who “assist in the
                                                                         25   performance” of abortions and sterilizations. Only the Church Amendment used “assist in
                                                                         26   the performance of,” and it did so as follows:
                                                                         27                  The receipt of any grant, contract, loan, or loan guarantee under
                                                                                             the Public Health Service Act, the Community Mental Health
                                                                         28                  Centers Act, or the Developmental Disabilities Services and
                                                                                             Facilities Construction Act by any individual or entity does not

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 13 of 32



                                                                          1                  authorize any court or any public official or other public authority
                                                                                             to require (1) such individual to perform or assist in the
                                                                          2                  performance of any sterilization procedure or abortion if his
                                                                                             performance or assistance in the performance of such procedure or
                                                                          3                  abortion would be contrary to his religious beliefs or moral
                                                                                             convictions; [. . .]
                                                                          4
                                                                              42 U.S.C. § 300a-7 (emphasis added).
                                                                          5
                                                                                     The final rule now defines “assist in the performance” as:
                                                                          6
                                                                                             [T]o take an action that has a specific, reasonable, and articulable
                                                                          7                  connection to furthering a procedure or a part of a health service
                                                                                             program or research activity undertaken by or with another person
                                                                          8                  or entity. This may include counseling, referral, training, or
                                                                                             otherwise making arrangements for the procedure or a part of a
                                                                          9                  health service program or research activity, depending on whether
                                                                                             aid is provided by such actions.
                                                                         10
                                                                                     “Assist in the performance” was originally intended to cover only those individuals in the
                                                                         11
United States District Court




                                                                              operating room who actually assisted the physician in carrying out the abortion or sterilization
                                                                         12
                               For the Northern District of California




                                                                              procedure. This is clear from the colloquy between Senator Russell Long and Senator Church
                                                                         13
                                                                              on the floor prior to the passage of the amendment:
                                                                         14
                                                                                            Mr. Long:      The thought occurs to me that it would seem
                                                                         15                                reasonable to say that where one seeks a sterilization
                                                                                                           procedure or an abortion, it could not be performed
                                                                         16                                because there might be a nurse or an attendant
                                                                                                           somewhere in the hospital who objected to it. If it
                                                                         17                                was not a matter of concern to that individual, it
                                                                                                           seems to me that that is getting to be a little far-
                                                                         18                                fetched, that is, that someone who had nothing to do
                                                                                                           with the matter and was not involved in it one way or
                                                                         19                                the other, just someone who happened to be working
                                                                                                           in a hospital, and was not involved in an abortion or
                                                                         20                                a sterilization procedure, could veto the rights of a
                                                                                                           physician and the rights of patients to have a
                                                                         21                                procedure which the Supreme Court has upheld.
                                                                         22                 Mr. Church:    Let me make clear, Mr. President, that such is not
                                                                                                           my intention. I understand the basis for the
                                                                         23                                expression of concern on the part of the Senator from
                                                                                                           Louisiana, but the words on line 19, “. . . of such
                                                                         24                                physician or other health care personnel, . . .” relate
                                                                                                           back to the same words used on lines 12 and 13 and
                                                                         25                                must be read in context with those words.
                                                                         26                 Mr. Long:      If I understand what the Senator is saying, he is
                                                                                                           saying that a nurse or an attendant who has religious
                                                                         27                                feelings contrary to sterilization or abortion should
                                                                                                           not be required and would not be required by any
                                                                         28                                Federal activity to participate in any such procedure


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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 14 of 32



                                                                          1                                to which they hold strong moral or religious
                                                                                                           convictions to the contrary.
                                                                          2
                                                                                            Mr. Church:    That is correct.
                                                                          3
                                                                                            Mr. Long:      So that this would not, in effect, say that one who
                                                                          4                                sought such an operation would be denied it because
                                                                                                           someone working in the hospital objected who had
                                                                          5                                no responsibility, directly or indirectly with regard
                                                                                                           to the performance of that procedure. It would only
                                                                          6                                be that one who was involved in performing the
                                                                                                           operation or in assisting to perform the operation
                                                                          7                                could not be required to participate when he or she
                                                                                                           held convictions against that type of procedure.
                                                                          8
                                                                                            Mr. Church:    The Senator is correct. The amendment is meant
                                                                          9                                to give protection to the physicians, to the nurses,
                                                                                                           to the hospitals themselves, if they are religious
                                                                         10                                affiliated institutions. So the fact Federal funds
                                                                                                           may have been extended will not be used as an
                                                                         11                                excuse for requiring physicians, nurses, or
United States District Court




                                                                                                           institutions to perform abortions or sterilizations that
                                                                         12                                are contrary to their religious precepts. That is the
                               For the Northern District of California




                                                                                                           objective of the amendment. There is no intention
                                                                         13                                here to permit a frivolous objection from someone
                                                                                                           unconnected with the procedure to be the basis for a
                                                                         14                                refusal to perform what would otherwise be a legal
                                                                                                           operation.
                                                                         15
                                                                              119 Cong. Rec. 9597 (1973) (emphasis added). Accordingly, the phrase “assist in the
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                                                                              performance” refers only to the assistance provided by nurses or other medical professionals
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                                                                              involved in the procedure itself in the operating room, not the ambulance driver or anyone else
                                                                         18
                                                                              outside the time and place of the procedure itself.
                                                                         19
                                                                                     HHS nevertheless insists that “driving a person to a hospital or clinic for a scheduled
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                                                                              abortion could constitute ‘assisting in the performance of’ an abortion, as would physically
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                                                                              delivering drugs for inducing abortion.” 84 Fed. Reg. 23,188 (May 21, 2019). At recent oral
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                                                                              argument for a similar challenge to the same rule in the United States District Court for the
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                                                                              Southern District of New York, District Judge Paul Engelmayer presented counsel for HHS with
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                                                                              the following situation:
                                                                         25
                                                                                             A pregnant woman takes an ambulance across Central Park to
                                                                         26                  Mt. Sinai Hospital and, midway through, from conversation with
                                                                                             the ambulance driver, it becomes clear that she is headed there to
                                                                         27                  terminate an ectopic pregnancy. The driver tells her to get out in
                                                                                             the middle of the park, and the employer fires the ambulance
                                                                         28                  driver for that. Is the ambulance driver assisting in the


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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 15 of 32



                                                                          1                    performance of the procedure if the ambulance driver takes her to
                                                                                               the hospital?
                                                                          2
                                                                              In response, government counsel insisted “[t]he rule protects an ambulance driver’s ability
                                                                          3
                                                                              not to assist in the performance of a procedure to which the driver has an objection” (State of
                                                                          4
                                                                              California, Dkt. No. 133, Exh. A at 116:21–25; 117:1–18). During oral argument in the instant
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                                                                              action, HHS again insisted that ambulance drivers should and would be covered (Id., Dkt. No.
                                                                          6
                                                                              139 at 48–52).
                                                                          7
                                                                                     Under a proper reading of the Church Amendment, however, no driver or EMT could
                                                                          8
                                                                              ever qualify, under any circumstance, as an individual who “assists in the performance of” an
                                                                          9
                                                                              abortion or sterilization. The colloquy between Senators Church and Long demonstrated that
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                                                                              the Church Amendment was meant to protect those who would be involved in carrying out the
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United States District Court




                                                                              procedure itself, such as physicians, nurses assisting the physicians, and others in the operating
                                                                         12
                               For the Northern District of California




                                                                              room necessary for the procedure itself. An ambulance driver assists in no such way.
                                                                         13
                                                                              Ambulance drivers and EMTs aboard ambulances transport and stabilize. Accordingly, neither
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                                                                              an ambulance driver nor an EMT “assist in the performance” and thus fall outside the Church
                                                                         15
                                                                              Amendment.
                                                                         16
                                                                                     Also covered under HHS’s interpretation of the rule would be schedulers and
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                                                                              housekeeping staff. HHS has stated “[s]cheduling an abortion or preparing a room and the
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                                                                              instruments for an abortion are necessary parts of the process of providing an abortion, and
                                                                         19
                                                                              it is reasonable to consider performing these actions as constituting ‘assistance.’” 84 Fed. Reg.
                                                                         20
                                                                              23,186–87 (May 21, 2019). Under the rule, a clerk scheduling surgeries for an operating room
                                                                         21
                                                                              could refuse to reserve slots for abortions and sterilizations. So could an employee who merely
                                                                         22
                                                                              sterilizes and places surgical instruments or ensures that the supply cabinets in the operating
                                                                         23
                                                                              room are fully stocked in preparation for an abortion. For the reasons already stated, the Church
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                                                                              Amendment was never intended to apply to those who have no role in the actual performance of
                                                                         25
                                                                              the abortion or sterilization. Neither those who schedule abortions nor those who prepare an
                                                                         26
                                                                              operating room assist in the performance of such a procedure under the Church Amendment.
                                                                         27
                                                                                     HHS also states it disagrees with any interpretation of “assisting in the performance” that
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                                                                              excludes pre- and post-operative support to an abortion patient. Id. at 23,187. But Senators

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                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 16 of 32



                                                                          1    Long and Church agreed that it would be far-fetched for the amendment to cover situations
                                                                          2    in which “one seeks a sterilization procedure or an abortion, [and] it could not be performed
                                                                          3    because there might be a nurse or an attendant somewhere in the hospital who objected to it.”
                                                                          4    119 Cong. Rec. 9597 (1973). Pre- and post-op tasks include monitoring and ensuring that a
                                                                          5    patient is stable and/or recovering following a procedure such as taking vitals and placing an
                                                                          6    intravenous line — tasks that are generic to surgeries in general, not specific to abortions or
                                                                          7    sterilization.1
                                                                          8                              (2)      “Health Care Entity” For Purposes
                                                                                                                  of the Coats-Snowe Amendment.
                                                                          9
                                                                                          The reader will recall that the Coats-Snowe Amendment protected “health care
                                                                         10
                                                                               entities” that refused to undergo or provide training for abortions against discrimination.
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United States District Court




                                                                               The Coats-Snowe Amendment defined “health care entity” as including “an individual
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                               For the Northern District of California




                                                                               physician, a postgraduate physician training program, and a participant in a program of training
                                                                         13
                                                                               in the health professions,” meaning, in short, doctors, residency programs, and medical students
                                                                         14
                                                                               or residents. 42 U.S.C. 238n(c)(2). The Coats-Snowe Amendment followed a new standard by
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                                                                               the Accrediting Council on Graduate Medical Education “indicating that failure to provide
                                                                         16
                                                                               training for induced abortions could lead to loss of accreditation” for hospitals and training
                                                                         17
                                                                               programs. The purpose of the amendment was thus to (1) ensure medical training programs
                                                                         18
                                                                               such as schools and residencies were not required to provide abortion training in order to be
                                                                         19
                                                                               accredited, and (2) extend conscience protections to students and faculty in the context of
                                                                         20
                                                                               training for abortions as well as to extend the protection to state schools (not just religious
                                                                         21
                                                                               schools). 142 Cong. Rec. 2264–65 (1996).
                                                                         22
                                                                                          The final rule, however, redefines “health care entity” for purposes of the Coats-Snowe
                                                                         23
                                                                               Amendment as:
                                                                         24
                                                                                                 (1) For purposes of the Coats-Snowe Amendment (42 U.S.C.
                                                                         25                      238n) and the subsections of this part implementing that law
                                                                                                 (§ 88.3(b)), an individual physician or other health care
                                                                         26
                                                                         27           1
                                                                                         This order recognizes that the physical act of removing and disposing a fetus during and immediately
                                                                         28   following an abortion would be “assisting in its performance.” The definition proposed by HHS, however, goes
                                                                              well beyond such assistance and cannot be squared with the statute itself.


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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 17 of 32



                                                                          1                  professional, including a pharmacist; health care personnel;
                                                                                             a participant in a program of training in the health professions;
                                                                          2                  an applicant for training or study in the health professions; a
                                                                                             postgraduate physician training program; a hospital; a medical
                                                                          3                  laboratory; an entity engaging in biomedical or behavioral
                                                                                             research; a pharmacy; or any other health care provider or
                                                                          4                  health care facility. As applicable, components of State or
                                                                                             local governments may be health care entities under the
                                                                          5                  Coats-Snowe Amendment.
                                                                          6   84 Fed. Reg. 23,264 (May 21, 2019).
                                                                          7          The problem with the redefinition in the rule is that it adds several new persons and
                                                                          8   entities beyond those in the actual statute (as italicized above). To be precise, the following
                                                                          9   did not appear in the Coats-Snowe Amendment (or its legislative history) but now surface in the
                                                                         10   redefinition of “health care entity”:
                                                                         11                  health care professional, a pharmacist, health care personnel, an
United States District Court




                                                                                             applicant for training or study in the health professions, a hospital,
                                                                         12                  medical laboratory, an entity engaging in biomedical or behavioral
                               For the Northern District of California




                                                                                             research, a pharmacy, or any other health care provider or health
                                                                         13                  care facility.
                                                                         14   To be sure, some of these entities appeared in other conscience statutes. For example, the
                                                                         15   Church Amendment protected “applicants for training or study in the health professions.”
                                                                         16   The Church Amendment also referenced entities engaging in biomedical or behavior research,
                                                                         17   but only as entities that were prohibited from discriminating. Under the final rule, however,
                                                                         18   they have been moved to the other side of the ledger — as entities protected from discrimination
                                                                         19   and, equally problematic, imported from a different statute.
                                                                         20          Other additions, however, never appeared in any conscience statute. Let’s start with
                                                                         21   pharmacists and pharmacies. The rule states that “[a] pharmacy is a health care entity,
                                                                         22   considering the ordinary meaning of that term, because it provides pharmaceuticals and
                                                                         23   information, which are health care items and services.” 84 Fed. Reg. 23,196 (May 21, 2019).
                                                                         24   Nowhere in the text or legislative history of the Coats-Snowe Amendment, however, is a “health
                                                                         25   care entity” defined as one that provides health care items and services. Rather, when it comes
                                                                         26   to individuals (as opposed to organizations), the statute consistently includes only those
                                                                         27   engaging in or needing to engage in the actual performance of the procedure in question or
                                                                         28   assisting in the procedure, such as doctors and nurses.


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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 18 of 32



                                                                          1           The Coats-Snowe Amendment was aimed at protecting doctors, residents, and
                                                                          2   medical students in the context of training. Pharmacists, like ambulance drivers, don’t fit.
                                                                          3   A pharmacist’s only possible role in an abortion or sterilization procedure would be dispensing
                                                                          4   advance medication to facilitate the procedure or post-procedure medication to stabilize or heal
                                                                          5   the patient, such as pain medication. Dispensing such medication, however, is not specific to the
                                                                          6   performance of the procedure itself.
                                                                          7            “Medical laboratories” is another term added into the new definition that did not appear
                                                                          8   in another statute. The Coats-Snowe Amendment, to repeat, expressly defined “health care
                                                                          9   entity” as “an individual physician, a postgraduate physician training program, and a participant
                                                                         10   in a program of training in the health professions.” Medical laboratories run tests that assist in
                                                                         11   diagnosing or in analyzing the outcome of certain procedures. They do not fit the statutory
United States District Court




                                                                         12   definition. Medical laboratories are thus not health care entities as defined or contemplated
                               For the Northern District of California




                                                                         13   by the Coats-Snowe Amendment and the final rule was wrong to include them.
                                                                         14           HHS has made many other additions in defining the term and justified doing so by
                                                                         15   stating that the Coats-Snowe Amendment used the word “include.” It is, of course, true that
                                                                         16   the statutory definition used the verb “include,” and the Supreme Court has held that the word
                                                                         17   “include” can signal that the list that follows is meant to be illustrative rather than exhaustive.
                                                                         18   Samantar v. Yousuf, 560 U.S. 305, 317 (2010). But when interpreting Congress’s intent or
                                                                         19   administrative regulations, the word “include” is nonetheless bounded by the intent expressed
                                                                         20   in the legislative history. See United States v. $215,587.22 in U.S. Currency Seized from Bank
                                                                         21   Account No. 100606401387436 held in the Name of JJ Szlavik Companies, Inc. at Citizens Bank,
                                                                         22   306 F. Supp. 3d 213, 218 (D.D.C. 2018). In other words, even when the listed terms in an
                                                                         23   inclusive definition are illustrative, a list still cannot be inflated with terms lacking the defining
                                                                         24   essence of those in the list, as has occurred here. See Russell Motor Car Co. v. United States,
                                                                         25   261 U.S. 514, 519 (1923).
                                                                         26                           (3)     “Health Care Entity” For Purposes of the
                                                                                                              Weldon Amendment and the Affordable Care Act.
                                                                         27
                                                                                      The Weldon Amendment itself provided its own statutory definition of “health care
                                                                         28
                                                                              entity,” stating “[i]n this subsection, the term ‘health care entity’ includes an individual

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 19 of 32



                                                                          1   physician or other health care professional, a hospital, a provider-sponsored organization, a
                                                                          2   health maintenance organization, a health insurance plan, or any other kind of health care
                                                                          3   facility, organization or plan.” Pub. L. No. 1154-245, Div. B., § 507(d)(2), 132 Stat. 2981, 3118
                                                                          4   (2018). Note that this definition differed from the statutory definition of the same term in the
                                                                          5   Coats-Snowe Amendment. The final rule, however, redefines “health care entity” for purposes
                                                                          6   of the Weldon Amendment (and for purposes of the Affordable Care Act, discussed hereafter)
                                                                          7   as:
                                                                          8                  (2) For purposes of the Weldon Amendment (e.g., Department of
                                                                                             Defense and Labor, Health and Human Services, and Education
                                                                          9                  Appropriations Act, 2019, and Continuing Appropriations Act,
                                                                                             2019, Pub. L. 115–245, Div. B., sec. 507(d), 132 Stat. 2981,
                                                                         10                  3118 (Sept. 28, 2018)), Patient Protection and Affordable Care
                                                                                             Act section 1553 (42 U.S.C. 18113), and to sections of this part
                                                                         11                  implementing those laws (§ 88.3(c) and (e)), an individual
United States District Court




                                                                                             physician or other health care professional, including a
                                                                         12                  pharmacist; health care personnel; a participant in a program of
                               For the Northern District of California




                                                                                             training in the health professions; an applicant for training or
                                                                         13                  study in the health professions; a postgraduate physician training
                                                                                             program; a hospital; a medical laboratory; an entity engaging in
                                                                         14                  biomedical or behavioral research; a pharmacy; a provider-
                                                                                             sponsored organization; a health maintenance organization; a
                                                                         15                  health insurance issuer; a health insurance plan (including group
                                                                                             or individual plans); a plan sponsor or third-party administrator;
                                                                         16                  or any other kind of health care organization, facility, or plan.
                                                                                             As applicable, components of State or local governments may be
                                                                         17                  health care entities under the Weldon Amendment and Patient
                                                                                             Protection and Affordable Care Act section 1553.
                                                                         18
                                                                              84 Fed. Reg. 23,264 (May 21, 2019). The following individuals and organizations did not
                                                                         19
                                                                              appear in the Weldon Amendment (nor in its legislative history), but now appear as part of the
                                                                         20
                                                                              expanded definition of “health care entity” for purposes of the Weldon Amendment:
                                                                         21
                                                                                             pharmacist, health care personnel, a participant in a program of
                                                                         22                  training in the health professions, an applicant for training or study
                                                                                             in the health professions, a postgraduate physician training
                                                                         23                  program, a medical laboratory, an entity engaging in biomedical
                                                                                             or behavioral research; a pharmacy, a health insurance issuer, and
                                                                         24                  a plan sponsor or third-party administrator.
                                                                         25          In presenting the Amendment, Representative Weldon stated the following:
                                                                         26                  The reason I sought to include this provision in the bill is my
                                                                                             experience as a physician, and I still see patients, is that the
                                                                         27                  majority of nurses, technicians and doctors who claim to be
                                                                                             pro-choice who claim to support Roe v. Wade always say to me
                                                                         28                  that they would never want to participate in an abortion, perform
                                                                                             an abortion, or be affiliated with doing an abortion. This provision

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 20 of 32



                                                                          1                  is meant to protect health care entities from discrimination because
                                                                                             they choose not to provide abortion services.
                                                                          2
                                                                                      In addressing Representative Zoe Lofgren’s concern that the “sweeping new legislation”
                                                                          3
                                                                              would allow “any individual physician, health care professional, hospital, HMO, health
                                                                          4
                                                                              insurance plan or any other kind of health care facility, organization, or plan from providing,
                                                                          5
                                                                              paying for, or even referring a patient for abortion services,” Representative Weldon stated that,
                                                                          6
                                                                              “[t]his provision is intended to protect the decisions of physicians, nurses, clinics, hospitals,
                                                                          7
                                                                              medical centers, and even health insurance providers from being forced by the government to
                                                                          8
                                                                              provide, refer, or pay for abortions.” 150 Cong. Rec. 25,044–45 (2004).
                                                                          9
                                                                                      As with the Coats-Snowe Amendment, the redefinition for purposes of the Weldon
                                                                         10
                                                                              Amendment adds a host of individuals and organizations under “health care entities.” Some of
                                                                         11
United States District Court




                                                                              these terms come from conscience provisions in other statutes and others do not. Regardless,
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                               For the Northern District of California




                                                                              none of these additions was defined or contemplated in the underlying statute. For example, a
                                                                         13
                                                                              pharmacist has again been included. As Representative Weldon stated, however, the protection
                                                                         14
                                                                              against discrimination was only extended to “physicians, nurses, clinics, hospitals, medical
                                                                         15
                                                                              centers, and even health insurance providers.” Unlike those listed individuals and entities, a
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                                                                              pharmacist does not play a role specific to the performance of an abortion or sterilization
                                                                         17
                                                                              procedure. The addition of individuals such as pharmacists and other such organizations like
                                                                         18
                                                                              pharmacies fall outside the intent of the underlying statute and the final rule is wrong to include
                                                                         19
                                                                              them.
                                                                         20
                                                                                                              *                 *                 *
                                                                         21
                                                                                      The Affordable Care Act protected health care entities from discrimination in the
                                                                         22
                                                                              context of assisted suicides. The ACA defined the term “health care entity” in exactly the
                                                                         23
                                                                              same way as the Weldon Amendment. The same entities added in by the new rule for the
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                                                                              Weldon Amendment was also added in for purposes of the ACA. Nonetheless, the definition
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                                                                              of “health care entity” under the ACA presents a closer question, given the fact that the ACA
                                                                         26
                                                                              applied to health care entities in the context of assisted suicides and not abortions and given
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                                                                              that, unlike the other statutes, the ACA did delegate legislative rulemaking power to the agency.
                                                                         28
                                                                              We can accept that a pharmacy is a “health care entity” for purposes of the ACA. Although

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 21 of 32



                                                                          1   pharmacists do not play a significant role in treatment in the context of abortions and
                                                                          2   sterilizations, they do in assisted suicides. For example, one method of assisted suicide requires
                                                                          3   patients to ingest lethal amounts of barbital capsules, and a pharmacist could be required to
                                                                          4   dispense such medication and ultimately cause the patient’s death. In that context, it is clear
                                                                          5   that the pharmacist would have a role in the actual treatment of the patient. This order is thus
                                                                          6   unable to find a clear conflict of the definition of “health care entity” for purposes of the ACA
                                                                          7   in the challenged rule versus the definition in the ACA.
                                                                          8                           (4)    “Entity.”
                                                                          9            At this point, let’s return briefly to the Church Amendment. Although it did not use the
                                                                         10   term “health care entity,” it did use the term “entity.” It also used the term “individual.” It
                                                                         11   consistently used those terms so as to distinguish “entities” from “individuals,” the former being
United States District Court




                                                                         12   organizations and the latter being natural persons. This is quite evident from a simple reading of
                               For the Northern District of California




                                                                         13   the statute.
                                                                         14            The final rule, however, merges the two. Specifically, it defines “entity” to include,
                                                                         15   among others, “a ‘person’ as defined in 1 U.S.C. 1.” In turn, Section 1 defines “person” to
                                                                         16   include: “corporations, companies, associations, firms, partnerships, societies, and joint stock
                                                                         17   companies, as well as individuals” (emphasis added). Therefore, the rule redefines “entity” to
                                                                         18   include “individual,” exactly what the Church Amendment avoided. The new rule was wrong to
                                                                         19   do so.
                                                                         20                           (5)    “Discriminate” or “Discrimination.”
                                                                         21            The final rule defines “discriminate or discrimination” to include:
                                                                         22                   (1) To withhold, reduce, exclude from, terminate, restrict, or make
                                                                                              unavailable or deny any grant, contract, subcontract, cooperative
                                                                         23                   agreement, loan, license, certification, accreditation, employment,
                                                                                              title, or other similar instrument, position, or status;
                                                                         24
                                                                                              (2) To withhold, reduce, exclude from, terminate, restrict, or make
                                                                         25                   unavailable or deny any benefit or privilege or impose any penalty;
                                                                                              or
                                                                         26
                                                                                              (3) To utilize any criterion, method of administration, or site
                                                                         27                   selection, including the enactment, application, or enforcement of
                                                                                              laws, regulations, policies, or procedures directly or through
                                                                         28                   contractual or other arrangements, that subjects individuals or
                                                                                              entities protected under this part to any adverse treatment with

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 22 of 32



                                                                          1                  respect to individuals, entities, or conduct protected under this part
                                                                                             on grounds prohibited under an applicable statute encompassed by
                                                                          2                  this part.
                                                                          3                  (4) Notwithstanding paragraphs (1) through (3) of this definition,
                                                                                             an entity subject to any prohibition in this part shall not be
                                                                          4                  regarded as having engaged in discrimination against a protected
                                                                                             entity where the entity offers and the protected entity voluntarily
                                                                          5                  accepts an effective accommodation for the exercise of such
                                                                                             protected entity’s protected conduct, religious beliefs, or moral
                                                                          6                  convictions. In determining whether any entity has engaged in
                                                                                             discriminatory action with respect to any complaint or compliance
                                                                          7                  review under this part, OCR will take into account the degree to
                                                                                             which an entity had implemented policies to provide effective
                                                                          8                  accommodations for the exercise of protected conduct, religious
                                                                                             beliefs, or moral convictions under this part and whether or not the
                                                                          9                  entity took any adverse action against a protected entity on the
                                                                                             basis of protected conduct, beliefs, or convictions before the
                                                                         10                  provision of any accommodation.
                                                                         11                  (5) Notwithstanding paragraphs (1) through (3) of this definition,
United States District Court




                                                                                             an entity subject to any prohibition in this part may require a
                                                                         12                  protected entity to inform it of objections to performing, referring
                               For the Northern District of California




                                                                                             for, participating in, or assisting in the performance of specific
                                                                         13                  procedures programs, research, counseling, or treatments, but only
                                                                                             to the extent that there is a reasonable likelihood that the protected
                                                                         14                  entity may be asked in good faith to perform, refer for, participate
                                                                                             in, or assist in the performance of, any act or conduct just
                                                                         15                  described. Such inquiry may only occur after the hiring of,
                                                                                             contracting with, or awarding of a grant or benefit to a protected
                                                                         16                  entity, and once per calendar year thereafter, unless supported by
                                                                                             a persuasive justification.
                                                                         17
                                                                                             (6) The taking of steps by an entity subject to prohibitions in this
                                                                         18                  part to use alternate staff or methods to provide or further any
                                                                                             objected-to conduct identified in paragraph (5) of this definition
                                                                         19                  would not, by itself, constitute discrimination or a prohibited
                                                                                             referral, if such entity does not require any additional action by,
                                                                         20                  or does not take any adverse action against, the objecting protected
                                                                                             entity (including individuals or health care entities), and if such
                                                                         21                  methods do not exclude protected entities from fields of practice
                                                                                             on the basis of their protected objections. Entities subject to
                                                                         22                  prohibitions in this part may also inform the public of the
                                                                                             availability of alternate staff or methods to provide or further the
                                                                         23                  objected-to conduct, but such entity may not do so in a manner that
                                                                                             constitutes adverse or retaliatory action against an objecting entity.
                                                                         24
                                                                              84 Fed. Reg. 23,263 (May 21, 2019). The problematic part of the new rule is its restriction on
                                                                         25
                                                                              inquiry into conscientious objections during the hiring process (italicized above), something
                                                                         26
                                                                              none of the underlying statutes expressly barred.
                                                                         27
                                                                                     The Church Amendment, for example, provided that certain entities could not
                                                                         28
                                                                              “discriminate in the employment, promotion, or termination of employment of any physician or

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 23 of 32



                                                                          1   other health care personnel” or “discriminate in the extension of staff or other privileges to any
                                                                          2   physician or other health care personnel,” 42 U.S.C. § 300a-7(c), but nowhere did it expressly
                                                                          3   bar inquiry into any conscientious objections in the hiring process.
                                                                          4           Plaintiffs attack the new definition because it does not include an “undue hardship”
                                                                          5   exception. To be clear, however, no federal conscience statute ever defined “discriminate” or
                                                                          6   “discrimination,” ever referred to Title VII, or itself provided any undue hardship exception.
                                                                          7   At first blush, therefore, it is a bit hard to grasp plaintiffs’ grievance.
                                                                          8           Plaintiffs showcase a Florida case wherein a pro-life nurse applied for employment at a
                                                                          9   Title X health center. She applied for a position as an antepartum, laborist, postpartum, and
                                                                         10   preventative care nurse. Hellwege v. Tampa Family Health Centers, 103 F. Supp. 3d 1303, 1306
                                                                         11   (M.D. Fla. 2015). If the health center had not been able to inquire about any ethical objections
United States District Court




                                                                         12   she had to doing those jobs, it is possible she could have been staffed on an abortion procedure
                               For the Northern District of California




                                                                         13   and only learned of her objection after she was on the job. Surely, the employer in such
                                                                         14   circumstance can ask if the applicant would have any conscience objection to doing the very
                                                                         15   job at issue. The district judge in Hellwege did not reach this issue, as she found the Church
                                                                         16   Amendment did not provide a private right of action. But scenarios like this could jeopardize
                                                                         17   federal funding under the challenged rule.
                                                                         18           Plaintiffs are correct that Title VII, 42 U.S.C. § 2000e–2(a), provides protection for
                                                                         19   applicants of employment against discrimination based on their religious beliefs, yet provides
                                                                         20   an undue hardship exception. Specifically, Title VII defines the term “religion” to include “all
                                                                         21   aspects of religious observance and practice, as well as belief, unless an employer demonstrates
                                                                         22   that he is unable to reasonably accommodate an employee’s or prospective employee’s religious
                                                                         23   observance or practice without undue hardship on the conduct of the employer’s business.” Id.
                                                                         24   at § 2000e(j). The Supreme Court has held that an undue hardship is one where an
                                                                         25   accommodation would have “more than a de minimis cost.” Trans World Airlines, Inc. v.
                                                                         26   Hardison, 432 U.S. 63, 84 (1977).
                                                                         27           In sum, Title VII allows an employer to inquire about religious beliefs that might impose
                                                                         28   a hardship on the employer and allows the employer to reject an applicant whose religious


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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 24 of 32



                                                                          1   practices cannot be reasonably accommodated. The question here is whether the Title VII
                                                                          2   scheme should be read into the Church Amendment (and any other conscience statutes covering
                                                                          3   applicants for employment). After hewing to the words actually used in the Church Amendment
                                                                          4   (as plaintiffs themselves have argued), it would be ironic to veer from the actual text of the
                                                                          5   Church Amendment and to read concepts into it from the Civil Rights Act. But it’s unnecessary
                                                                          6   to decide that point. Note well that the new rule includes an exception for “persuasive
                                                                          7   justification,” meaning pre-employment inquiries can be made and applicants rejected when
                                                                          8   supported by a “persuasive justification.” Although this term is not further defined by the rule,
                                                                          9   this order expects that any undue hardships would supply persuasive justification. Therefore,
                                                                         10   this order will not criticize the rule based on its definition of “discriminate” or “discrimination.”
                                                                         11                          (6)     “Referral” or “Refer for.”
United States District Court




                                                                         12          The final rule defines “referral” or “refer for” to include:
                               For the Northern District of California




                                                                         13                  [T]he provision of information in oral, written, or electronic
                                                                                             form (including names, addresses, phone numbers, email or
                                                                         14                  web addresses, directions, instructions, descriptions, or other
                                                                                             information resources), where the purpose or reasonably
                                                                         15                  foreseeable outcome of provision of the information is to assist a
                                                                                             person in receiving funding or financing for, training in, obtaining,
                                                                         16                  or performing a particular health care service, program, activity,
                                                                                             or procedure.
                                                                         17
                                                                              84 Fed. Reg. 23,264 (May 21, 2019).
                                                                         18
                                                                                     The Church Amendment only addressed the performance and assistance in the
                                                                         19
                                                                              performance of abortions, not referrals. The other conscience statutes, however, did use the
                                                                         20
                                                                              terms “referral” or “refer for.” The Coats-Snowe Amendment applied to health care entities
                                                                         21
                                                                              that chose not to train “in the performance of induced abortions, to require or provide such
                                                                         22
                                                                              training, to perform such abortions, or to provide referrals for such training or such abortions.”
                                                                         23
                                                                              42 U.S.C. §238n(a)(1) (emphasis added). The Medicaid and Medicare laws stated that
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                                                                              Medicaid-managed organizations and Medicare Advantage plans were not required to “provide,
                                                                         25
                                                                              reimburse for, or provide coverage of a counseling or referral service” if the organization
                                                                         26
                                                                              objected to the service on moral or religious grounds. 42 U.S.C. §§ 1395w-22(j)(3)(B),
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                                                                              1396u–2(b)(3)(B) (emphasis added). The Affordable Care Act prohibited qualified health care
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                                                                              plans from discriminating against “any individual health care provider or health care facility

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 25 of 32



                                                                          1   because of its unwillingness to provide, pay for, provide coverage of, or refer for abortions.”
                                                                          2   Id. at § 18023(b)(4) (emphasis added). The Weldon Amendment applied to health care entities
                                                                          3   that do not “pay for, provide coverage of, or refer for” abortions. Pub. L. No. 115-245, Div. B
                                                                          4   § 507 (d), 132 Stat. 2981, 3118 (2018) (emphasis added).
                                                                          5          The term was not defined nor addressed in the legislative history of any of the conscience
                                                                          6   statutes. However, the legislative history of at least the Weldon Amendment provided some
                                                                          7   guidance. In explaining his purpose, Representative Weldon stated:
                                                                          8                  This provision is intended to protect the decisions of physicians,
                                                                                             nurses, clinics, hospitals, medical centers, and even health
                                                                          9                  insurance providers from being forced by the government to
                                                                                             provide, refer, or pay for abortions.
                                                                         10
                                                                                                              *                *                 *
                                                                         11
United States District Court




                                                                                             This provision only applies to health care entities that refuse to
                                                                         12                  provide abortion services. Furthermore, the provision only affects
                               For the Northern District of California




                                                                                             instances when a government requires that a health care entity
                                                                         13                  provide abortion services. Therefore, contrary to what has been
                                                                                             said, this provision will not affect access to abortion, the provision
                                                                         14                  of abortion-related information or services by willing providers or
                                                                                             the ability of States to fulfill Federal Medicaid legislation.
                                                                         15
                                                                              150 Cong. Rec. 25,044–45(2004) (emphasis added).
                                                                         16
                                                                                     Therefore, Representative Weldon used the term “refer for” as separate from the
                                                                         17
                                                                              provision of information, and further explicitly clarified that the Amendment was not meant to
                                                                         18
                                                                              apply to the provision of abortion-related information.
                                                                         19
                                                                                     Under the rule, however, the provision of any information by a “health care entity”
                                                                         20
                                                                              that could reasonably lead to a patient obtaining the procedure at issue would be considered a
                                                                         21
                                                                              “referral.” This means, for example, that an entity could lose all of its HHS funding if it fired a
                                                                         22
                                                                              hospital front-desk employee for refusing to tell a woman seeking an emergency abortion for an
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                                                                              ectopic pregnancy which floor she needed to go to for her procedure.
                                                                         24
                                                                                     In justifying the need for this definition, HHS cites to National Institute of Family and
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                                                                              Life Advocates v. Becerra (NIFLA), a decision that addresses only the First Amendment
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                                                                              concerns in providing information regarding abortions to patients. 138 S. Ct. 2361 (2018).
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                                                                              Specifically in NIFLA, California enacted the FACT Act, which, in relevant part, required
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                                                                              licensed clinics that offered pregnancy-related services to provide a government-drafted script

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                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 26 of 32



                                                                          1    about the availability of state-sponsored services, including abortions. Id. at 2371. Although the
                                                                          2    Supreme Court found such provision of information to violate the First Amendment, it did not
                                                                          3    speak to whether the government-drafted script constituted a “referral” within the meaning of
                                                                          4    any conscience statute. Id. at 2365.
                                                                          5               Instead, as to the Weldon Amendment at least, the legislative history is more instructive
                                                                          6    in determining whether the definition in the rule is appropriate. As quoted above, Representative
                                                                          7    Weldon explicitly stated his amendment was not meant to cover the provision of abortion-related
                                                                          8    information even though the rule covers exactly such provision of information (and more).
                                                                          9    Additionally, the Weldon Amendment used the term “referral” versus the general provision of
                                                                         10    information as separate things. This distinct use indicates that “referrals” are meant to cover
                                                                         11    narrower circumstances than the general provision of information.
United States District Court




                                                                         12               The text and legislative histories of the remaining statutes do not provide any guidance
                               For the Northern District of California




                                                                         13    regarding how “referral” or “refer for” should be defined. The use of the terms in the medical
                                                                         14    profession, however, does provides some guidance. In particular, medical professionals use the
                                                                         15    word “referral” as a term of art that ordinarily means a request from one physician to another to
                                                                         16    assume responsibility of a patient’s specified problems. See, e.g., American Academy of Family
                                                                         17    Physicians Clinical Policies (2019);2 32 C.F.R 199.2.3 In contrast, the informal provision of
                                                                         18    general information such as emails, names, and directions are simply recommendations. The
                                                                         19    definition of the term “referral” in the rule here thus goes beyond the meaning of the term as
                                                                         20    understood by the very industry HHS purports it is trying to protect.
                                                                         21               3.     INTERPRETIVE RULES VS. LEGISLATIVE RULES.
                                                                         22               HHS claims that it has authority to promulgate a substantive, legislative rule, not a mere
                                                                         23    interpretive rule. But there is no delegation of authority, either explicit or implicit, in any of the
                                                                         24    underlying statutes to do so except in the limited instances noted above. An interpretive rule can
                                                                         25
                                                                                      2
                                                                         26             “A referral is a request from one physician to another to assume responsibility for management of
                                                                              one or more of a patient’s specified problems.”
                                                                         27           3
                                                                                          In the context of the Civilian Health and Medical Program of Uniformed Services (CHAMPUS), a
                                                                         28   referral relationship exists when a CHAMPUS beneficiary is sent, directed, assigned or influenced to use a
                                                                              specific CHAMPUS-authorized provider, or a specific individual or entity eligible to be a
                                                                              CHAMPUS-authorized provider.

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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 27 of 32



                                                                          1   never add to or subtract from a statute itself. A legislative rule can never subtract from a statute,
                                                                          2   though one can add to it if the addition falls within the delegation authority. No rule of either
                                                                          3   type can ever conflict with the statute itself. As shown above, the new definitions conflict with
                                                                          4   the underlying statutes in significant ways.
                                                                          5                  A.      Explicit Rulemaking Authority.
                                                                          6          Nothing in the Church or Weldon amendments provided that HHS could promulgate
                                                                          7   rules. Furthermore, the Coats-Snowe Amendment, Affordable Care Act and Medicare and
                                                                          8   Medicaid statutes cited by defendants conferred upon HHS authority to make and publish
                                                                          9   regulations only to a limited extent. For example, Section 1302 of Title 42 of the United States
                                                                         10   Code granted the Secretary explicit authority to publish rules regarding the impact of Medicare
                                                                         11   and Medicaid on small rural hospitals. Section 18113 furthermore explicitly designated HHS to
United States District Court




                                                                         12   receive complaints of discrimination based on the statute prohibiting discrimination on
                               For the Northern District of California




                                                                         13   performing assisted suicides. HHS, of course, has rulemaking authority to implement the ACA
                                                                         14   and Medicare and Medicaid programs as well as the applicable conscience provisions. 42 U.S.C.
                                                                         15   §§ 18041, 1302, 1395w–26. But HHS does not have rulemaking authority to change, add to, or
                                                                         16   subtract from conscience provisions in other statutes such as the Church and Weldon
                                                                         17   Amendments.
                                                                         18          Defendants further mistakenly rely on their “housekeeping authority” to support their
                                                                         19   authority to promulgate the rule. None of the statutes cited by defendants provide HHS with the
                                                                         20   authority to promulgate substantive rules. For example, 5 U.S.C. § 301 states:
                                                                         21                  The head of an Executive department or military department may
                                                                                             prescribe regulations for the government of his department, the
                                                                         22                  conduct of its employees, the distribution and performance of its
                                                                                             business, and the custody, use, and preservation of its records,
                                                                         23                  papers, and property. This section does not authorize withholding
                                                                                             information from the public or limiting the availability of records
                                                                         24                  to the public.
                                                                         25   The Supreme Court and our court of appeals has found this statute to empower an agency to
                                                                         26   create rules regarding internal procedure, practice, or organization, not substantive rules.
                                                                         27   Chrysler Corp. v. Brown, 441 U.S. 281, 310 (1979); Exxon Shipping Co. v. U.S. Dep’t of
                                                                         28   Interior, 34 F.3d 774, 777 (9th Cir. 1994). The challenged rule is not, however, a mere


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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 28 of 32



                                                                          1   housekeeping rule. The expansive definitions in the rule depart from the federal statutes, as
                                                                          2   explained above, changing the rights and responsibilities of health care providers. Coupled with
                                                                          3   the addition of the termination of all HHS funding as a consequence of noncompliance, the rule
                                                                          4   is undoubtedly substantive.
                                                                          5          HHS next cites Section 121(c) of Title 40 of the United States Code, which provides the
                                                                          6   General Services Administrator (GSA) with authority to promulgate the Federal Acquisition
                                                                          7   Regulation. Section 121(d) goes on to state that the GSA does not have “the authority to
                                                                          8   prescribe regulations on matters of policy applying to executive agencies.” Statements on
                                                                          9   matters of policy are generally those that explain how an agency will enforce a statute or
                                                                         10   regulation. Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 251–52 (D.C. Cir. 2014).
                                                                         11          HHS also invokes the Uniform Administrative Requirements (UAR). The UAR is the
United States District Court




                                                                         12   Office of Management and Budget’s (OMB) guidance for funding instruments. In relevant part,
                               For the Northern District of California




                                                                         13   the UAR provides agencies with the authority to ensure that federal funding programs are
                                                                         14   implemented in full accordance with federal statutory and public policy requirements. While it
                                                                         15   is true that the UAR also provides agencies with the authority to require fund recipients to
                                                                         16   comply with federal statutes and regulations, it only allows for termination of an entity’s “federal
                                                                         17   award,” which is defined as “Federal financial assistance,” in instances of noncompliance. 45
                                                                         18   C.F.R. § 75.371(c). This means failure to comply under the UAR would only allow HHS to
                                                                         19   terminate limited categories of funding such as grants, loans, and insurance. Under the new rule,
                                                                         20   however, failure to comply would allow HHS to terminate all of an entity’s funding including
                                                                         21   Medicaid and Medicare reimbursements. For California, this would mean a single instance of
                                                                         22   noncompliance could jeopardize, for example, the $63 billion in federal funding it receives for
                                                                         23   healthcare programs for one-third of Californians. There is no federal statute, UAR or
                                                                         24   otherwise, that delegates to HHS the authority to promulgate a rule with such draconian
                                                                         25   mechanisms.
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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 29 of 32



                                                                          1                   B.     Implicit Rulemaking Authority.
                                                                          2          Nor do defendants have implicit authority to promulgate the instant rule. The Supreme
                                                                          3   Court has discussed the manner in which Congress may implicitly delegate legislative authority
                                                                          4   to an agency:
                                                                          5                   Congress [] may not have expressly delegated authority or
                                                                                              responsibility to implement a particular provision or fill a
                                                                          6                   particular gap. Yet it can still be apparent from the agency’s
                                                                                              generally conferred authority and other statutory circumstances
                                                                          7                   that Congress would expect the agency to be able to speak with
                                                                                              the force of law when it addresses ambiguity in the statute or fills
                                                                          8                   a space in the enacted law.
                                                                          9   United States v. Mead Corp., 533 U.S. 218, 229 (2001) (emphasis added). In other words,
                                                                         10   Congress may implicitly authorize an agency to promulgate a legislative regulation if it is
                                                                         11   apparent from the agency’s generally conferred authority and other statutory circumstances that
United States District Court




                                                                         12   Congress would expect the agency to be able to speak with the force of law when addressing
                               For the Northern District of California




                                                                         13   ambiguity in a statute it administers. Such authorization may be indicated by express
                                                                         14   congressional delegation of rulemaking or adjudicative authority, or by some other indication of
                                                                         15   comparable congressional intent.
                                                                         16          To show this, HHS refers back to the UAR as well as 5 U.S.C. § 301 and 40 U.S.C.
                                                                         17   § 121(c) for the collective proposition that HHS has the authority to disburse funds and
                                                                         18   to condition such funds based on compliance with federal conscience provisions. There,
                                                                         19   nonetheless, exists a disconnect between HHS’s ability to condition funds based on compliance
                                                                         20   with the law versus any ability to change the law. HHS attempts to bridge that disconnect by
                                                                         21   explaining that, if HHS can and sometimes must condition funds based on compliance with the
                                                                         22   statutes it administers, “it follows from these authorizations that HHS may . . . explain its
                                                                         23   interpretation of those statutes” (State of California, Dkt. No. 54 at 13).
                                                                         24          True, any and all agencies must interpret the statutes under their care. But if their
                                                                         25   interpretations are wrong, then a court must set them aside. This order holds that Congress
                                                                         26   has not made any express or implicit delegation of authority for HHS to issue legislative rules
                                                                         27   (excepted in limited cases already cited) and thus it has no authority to add to the requirements
                                                                         28   of the underlying statutes. This order also holds that while HHS may interpret the statutes in


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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 30 of 32



                                                                          1   question, those interpretations may not add to or subtract from what the statutes themselves say.
                                                                          2   This order further holds that the rule in question does exactly that by adding expansive
                                                                          3   definitions in conflict with the statutes and imposing draconian financial penalties.
                                                                          4           4.      RELIEF.
                                                                          5           When a rule is invalid, “[t]he reviewing court shall — hold unlawful and set aside agency
                                                                          6   action, findings, and conclusions found to be — (A) arbitrary, capricious, an abuse of discretion,
                                                                          7   or otherwise not in accordance with law; (B) contrary to constitutional right, power, privilege,
                                                                          8   or immunity; (C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory
                                                                          9   right . . . . ” 5 U.S.C. § 706(2). For the foregoing reasons, this order holds the rule is “not in
                                                                         10   accordance with law,” by reason of conflict with the underlying statutes and is in conflict with
                                                                         11   the balance struck by Congress in harmonizing protection of conscience objections vis-a-vis the
United States District Court




                                                                         12   uninterrupted flow of health care to Americans. When a rule is so saturated with error, as here,
                               For the Northern District of California




                                                                         13   there is no point in trying to sever the problematic provisions. The whole rule must go.
                                                                         14           HHS has requested that the relief granted, if any, be limited to the parties. This order
                                                                         15   recognizes that in the past, our court of appeals has vacated nationwide preliminary injunctions
                                                                         16   when the record only demonstrated the impact the ruling would have on plaintiffs and not on the
                                                                         17   nation as a whole or when limited relief was sufficient to provide complete relief to the
                                                                         18   plaintiffs. See, e.g., City & Cty. of San Francisco v. Trump, 897 F.3d 1225, 1244–45 (9th Cir.
                                                                         19   2018); California v. Azar, 911 F.3d 558, 582–84 (9th Cir. 2018).
                                                                         20           Those cases did not, however, involve motions for summary judgment in which an entire
                                                                         21   rule was finally set aside, as here. The rule is not being enjoined or severed. It is being vacated
                                                                         22   in its entirety based on the administrative record and not on any considerations specific to the
                                                                         23   plaintiffs. Importantly, HHS does not and cannot cite to instances where a rule has been vacated
                                                                         24   in its entirety, but limited only to the parties. All of the courts that have been presented with the
                                                                         25   possibility of such a remedy have rejected it. E.g., O.A. v. Trump, 2019 WL 3536334, at *29
                                                                         26   (D.D.C. Aug. 2, 2019) (Judge Randolph Moss); Desert Survivors v. U.S. Dep’t of the Interior,
                                                                         27   336 F. Supp. 3d 1131, 1134 (N.D. Cal. 2018). When reviewing courts have determined that a
                                                                         28   rule is facially invalid, the result is that the rule is vacated, “not that their application to the


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                                                                               Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 31 of 32



                                                                          1    individual petitioners is proscribed.” Nat’l Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d
                                                                          2    1399, 1409 (D.C. Cir. 1998) (quoting Harmon v. Thornburgh, 878 F.2d 484, 495 n.21 (D.C. Cir.
                                                                          3    1989)); see also Make the Rd. N.Y. v. McAleenan, 2019 WL 4738070, at *49 (D.D.C. Sept. 27,
                                                                          4    2019) (Judge Ketanji Brown Jackson) (finding that relief must not just be granted to the
                                                                          5    plaintiffs but to anyone to whom it could apply “so as to give interested parties (the plaintiff, the
                                                                          6    agency, and the public) a meaningful opportunity to try again”).
                                                                          7                Setting aside the rule just for the plaintiffs in this case would not only go against the
                                                                          8    foregoing precedent, but would also be illogical given the fact that the APA violations found
                                                                          9    here would apply with equal force for any other plaintiff to whom the rule could apply. A rule
                                                                         10    cannot be vacated in its entirety on the ground that it is “not in accordance with law” for a
                                                                         11    limited group of parties only. It can only be vacated as to all applicable parties. And limiting
United States District Court




                                                                         12    relief would be especially illogical here given the fact that other courts have set aside the rule
                               For the Northern District of California




                                                                         13    already.4
                                                                         14                In light of the fact that the rule is vacated in its entirety, this order will and need not reach
                                                                         15    the remaining constitutional claims.
                                                                         16                5.      REQUESTS FOR JUDICIAL NOTICE, USE OF DECLARATIONS, AND
                                                                         17                        MISCELLANEOUS MOTIONS.
                                                                         18                Federal Rule of Evidence 201(b) permits courts to take judicial notice of any fact “that is
                                                                         19    not subject to reasonable dispute because it . . . can be accurately and readily determined from
                                                                         20    sources whose accuracy cannot reasonably be questioned.” While a court may take judicial
                                                                         21    notice of matters of public record at the motion to dismiss stage, it cannot take judicial notice of
                                                                         22    disputed facts contained in such public records. Khoja v. Orexigen Therapeutics, Inc., 899 F.3d
                                                                         23    988, 999 (9th Cir. 2018).
                                                                         24                Plaintiffs request judicial notice of the following documents: (1) the HHS Budget,
                                                                         25    (2) the HHS Guidelines for Regulatory Impact Analysis (2016), (3) the FDA’s “Importance of
                                                                         26
                                                                         27            4
                                                                                         On November 6, 2019, the United States District Court for the Southern District of New York
                                                                         28   vacated the rule in its entirety on a nationwide basis. State of New York, et al. v. U.S. Dep’t of Health & Human
                                                                              Servs., C 19-04676 (Dkt. No. 248).


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                                                                              Case 3:19-cv-02769-WHA Document 143 Filed 11/19/19 Page 32 of 32



                                                                          1   Influenza Vaccination for Health Care Personnel,” (4) HHS, Office of Population Affairs,
                                                                          2   definition of “sterilization,” (5) HHS “Factsheet, Final Conscience Regulation,” (6) White
                                                                          3   House, Remarks by President Trump at the National Day of Prayer Service, (7) excerpts from
                                                                          4   the congressional record from the 93rd Congress (Senate), and (8) excerpts from the
                                                                          5   congressional record from the 109th Congress (House of Representatives). Because these
                                                                          6   documents are appropriate subjects of judicial notice, plaintiffs’ unopposed request is GRANTED.
                                                                          7   Plaintiffs’ administrative motion to request judicial notice and their request to judicially notice
                                                                          8   the transcript of oral arguments of the State of New York case is also GRANTED. The transcript
                                                                          9   contains clarifications and concessions regarding the scope of the text of the rule that were
                                                                         10   relevant to this Court’s decisionmaking.
                                                                         11          The government has also opposed plaintiffs’ use of declarations in their briefing.
United States District Court




                                                                         12   These declarations were not relevant in the determination of the Administrative Procedures Act
                               For the Northern District of California




                                                                         13   claims and is thus DENIED AS MOOT.
                                                                         14          The motions for preliminary injunction (City and County of San Francisco Dkt. No. 14;
                                                                         15   State of California Dkt. No. 11; County of Santa Clara Dkt. No. 36) and the State of California’s
                                                                         16   administrative motion for leave to exceed the page limit for their preliminary injunction motion
                                                                         17   (Dkt. No. 12) are DENIED AS MOOT.
                                                                         18                                              CONCLUSION
                                                                         19          For the foregoing reasons, defendants’ motion to dismiss and for summary judgment is
                                                                         20   DENIED. To the extent stated above, plaintiffs’ motion for summary judgment is GRANTED.
                                                                         21          The challenged rule is set aside and shall be unenforceable. This order gives plaintiffs
                                                                         22   substantially all the relief they seek, although it has not reached all the claims tendered.
                                                                         23   The undersigned judge accordingly believes this action is ready for appeal, and suggests that
                                                                         24   all sides stipulate to entry of final judgment with reservation of all issues not reached in this
                                                                         25   order in the event of a remand.
                                                                         26          IT IS SO ORDERED.
                                                                         27   Dated: November 19, 2019.
                                                                                                                                     WILLIAM ALSUP
                                                                         28                                                          UNITED STATES DISTRICT JUDGE


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